Case 11-00044         Doc 200         Filed 07/08/11 Entered 07/08/11 13:27:59                Desc Main
                                       Document     Page 1 of 2


                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF COLUMBIA

     IN RE:                                                        :
                                                                   :
               W.A.R., LLP                                         : Case No. 11-0044
                                                                   : (Chapter 7)
                                    Debtor                         :


                        WILLIAM C. CARTINHOUR, JR.’S MOTION TO STRIKE
                        RAY CONNOLLY’S PLEADINGS AND FOR SANCTIONS

               William C. Cartinhour, Jr., by counsel, moves the Court to strike Ray Connolly’s

     pleadings filed in this Chapter 7 proceeding and for sanctions pursuant to the Court’s inherent

     power, and in support thereof offers the attached Memorandum of Points and Authorities,

     which is incorporated herein by reference.

               WHEREFORE, William C. Cartinhour, Jr. requests the Court:

               A.        Strike all of Ray Connolly’s Pleadings;

               B.        Sanction Ray Connolly, aka Raymond J. Connolly, Jr. pursuant to the Court’s

                         inherent power; and

               C.        Grant such other and further relief as is just and proper.

                                                         Respectfully submitted,


                                                                 /s/ Patrick J. Kearney
                                                         Patrick J. Kearney, Esquire, Bar No. 382290
                                                         Selzer Gurvitch Rabin Wertheimer Polott &
                                                           Obecny, P.C.
                                                         4416 East West Highway, Suite 400
                                                         Bethesda, Maryland 20814-4568
                                                         (301) 986-9600
                                                         Email: Pkearney@sgrwlaw.com

                                                         Attorneys for William C. Cartinhour, Jr.




     G:\Clients\3035-2\Pleadings\Bankr D DC Pleadings\Motion to Strike Connolly.doc
Case 11-00044    Doc 200     Filed 07/08/11 Entered 07/08/11 13:27:59            Desc Main
                              Document     Page 2 of 2


                                    CERTIFICATE OF SERVICE


             I hereby certify that a true and accurate copy of the foregoing pleading has been
     served this 8th day of July 2011 upon:

     Via First Class Mail, postage pre-paid:

     William Wooten, Esquire
     262 German Oak Drive
     Cordova, TN 38018

     Ray Connolly
     DIBA Group, Inc. c/o Byron Speight
     135 W 26th Street, 11th Floor
     New York, NY 10010

     Raymond J. Connolly, Jr.
     280 First Ave. No. 8B
     New York, NY 10009

     Joseph A. Guzinski, Assistant United States Trustee
     115 South Union Street, Plaza Level
     Suite 210
     Alexandria, VA 22314

     By ECF:

     Ty Clevenger, Esquire
     P.O. Box 4806
     Bryan, TX 77805

     Jeffrey M. Sherman, Esquire
     Jackson & Campbell
     1120 20th St., NW, Suite 300 South
     Washington, DC 20036

     Wade A. Robertson
     191 E. Parkway S.
     Memphis, TN 38104



                                                   /s/ Patrick J. Kearney
                                           Patrick J. Kearney



                                                    2
